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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     WILLIAMS-SONOMA, INC.,                              Case No.18-cv-07548-EDL
                                                          Plaintiff,
                                   8
                                                                                             FURTHER CASE MANAGEMENT
                                                   v.                                        AND PRETRIAL ORDER
                                   9

                                  10     AMAZON.COM, INC.,                                   Re: Dkt. No. 55
                                                          Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On May 15, 2019, the Court entered a case management and pretrial order adopting the

                                  14   parties’ agreed upon dates, setting certain additional dates, and ordering the parties to file joint

                                  15   proposals for a summary judgment briefing schedule, expert discovery deadlines, a deadline to

                                  16   complete alternative dispute resolution (“ADR”), and an election of the type of ADR by June 24,

                                  17   2019. On June 24, 2019, the parties submitted a Further Joint Update on Proposed Case Schedule.

                                  18          Having reviewed the parties’ submission, the Court adopts the parties’ Joint Proposal for

                                  19   Three-Round Schedule, subject to the availability of the next resulting judge. The following

                                  20   further case management dates and deadlines are HEREBY ORDERED:

                                  21          1.        DISCOVERY
                                  22          a.        All non-expert discovery shall be completed no later than February 10, 2020.

                                  23   There will be no further non-expert discovery after that date except by order of the Court for good

                                  24   cause shown. Motions to compel non-expert discovery must be filed within the time limits

                                  25   contained in Civil Local Rule 37-3.

                                  26          b.        Initial expert disclosures shall be made no later than February 17, 2020. Rebuttal

                                  27   expert disclosures shall be made no later than March 18, 2020. All non-retained witnesses,

                                  28   including treating physicians who will provide opinion testimony beyond that which can be
                                   1   provided by a lay person must be disclosed as expert witnesses, but they need not prepare expert

                                   2   reports unless ordered to do so by the Court. For such non-retained expert witnesses, Rule

                                   3   26(a)(2)(C) of the Federal Rules of Civil Procedure requires the disclosure of “the subject matter

                                   4   on which the witness is expected to present evidence under Federal Rules of Evidence 702, 703, or

                                   5   705” and “a summary of the facts and opinions to which the witness is expected to testify.”

                                   6          c.      All expert discovery shall be completed no later than April 8, 2020. There will be

                                   7   no further expert discovery after that date except by order of the Court for good cause shown.

                                   8   Motions to compel expert discovery must be filed within the time limits contained in Civil Local

                                   9   Rule 37-3.

                                  10          2.      MOTIONS
                                  11          Dispositive motions must be filed no later than April 21, 2020. Oppositions are due May
                                  12   12, 2020. Replies are due May 26, 2020. The last day for hearing dispositive motions shall be
Northern District of California
 United States District Court




                                  13   June 16, 2020.

                                  14          3.      ALTERNATIVE DISPUTE RESOLUTION/SETTLEMENT CONFERENCE
                                  15          The parties are referred to private mediation, which is to take place by December 2, 2019.
                                  16   If the private mediation is unsuccessful, either or both parties may request referral to a Magistrate
                                  17   Judge for a settlement conference.

                                  18

                                  19          IT IS SO ORDERED.

                                  20   Dated: July 8, 2019

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                                                                                                     ELIZABETH D. LAPORTE
                                  23                                                                 United States Magistrate Judge
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